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                       Exhibit C
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                          List of unique Phone numbers
                       From Calls dated March 21-23, 2024
                   To Plaintiff Phone number XXX-XXX-5526


              Unique Call #           Unique Call #             Unique Call #
        1     269.201.8394    21      269.242.2897      41      269-386-9858
        2     269.201.8395    22      269.242.2943
        3     269.201.8402    23      269.242.2959
        4     269.201.8437    24      269.242.2962
        5     269.210.7708    25      269.242.2963
        6     269.228.9646    26      269.242.2964
        7     269.228.9648    27      269.242.2965
        8     269.228.9649    28      269.242.2966
        9     269.228.9650    29      269.253.3396
       10     269.228.9661    30      269.253.3397
       11     269.230.4620    31      269.253.3398
       12     269.233.0615    32      269.253.3401
       13     269.242.2870    33      269.253.3402
       14     269.242.2871    34      269.253.3406
       15     269.242.2877    35      269.253.3407
       16     269.242.2878    36      269.253.3413
       17     269.242.2884    37      269.253.3414
       18     269.242.2886    38      269.386.9858
       19     269.242.2890    39      269.520.7646
       20     269.242.2896    40      269-230-4620
